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12 MARKET CALIFORNIA, INC.

13                               UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15 KAARON WARREN and CHRISTINA                        Case No. 3:21-cv-04577-EMC
   REED, individually, and on behalf of those
16 similarly situated,                                JOINT STATUS REPORT

17                Plaintiff,                          Date: May 10, 2022
                                                      Time: 2:30 PM
18         v.
                                                      The Honorable Edward M. Chen
19 WHOLE FOODS MARKET CALIFORNIA,
   INC.
20
            Defendant.
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28                                                                         Case No. 21-cv-04577-EMC
                                                                            JOINT STATUS REPORT
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 1          Pursuant to the Court’s Minute Entry of February 3, 2022 and the Standing Order for All

 2 Judges of the Northern District of California effective November 1, 2018, Plaintiffs Kaaron Warren

 3 and Christina Reed (“Plaintiffs”) and Defendant Whole Foods Market California, Inc. (“Defendant”

 4 or “WFM CA”) (collectively the “Parties”) jointly submit this status report.

 5          On February 3, 2022, the Court heard argument on WFM California’s motion to dismiss and

 6 granted the Parties a limited right of discovery on the issue of which WFM entity may have some

 7 liability for the alleged mislabeling.

 8          On April 15, 2022, the Parties submitted a stipulation and proposed order regarding the

 9 substitution of Whole Foods Market Private Label LP for Defendant WFM California in the FAC.

10 ECF No. 49.

11          If the proposed order regarding substitution is granted, the Parties also have agreed that

12 Plaintiff Reed would dismiss her claims, as well as the claims of the Nevada class, without prejudice.

13          The parties also agree that if the proposed order regarding stipulation is granted and Plaintiff

14 Reed and the other members of the proposed Nevada class are dismissed, that the portion of

15 defendant’s motion to dismiss regarding personal jurisdiction is withdrawn as moot, with only the

16 non-jurisdictional arguments remaining for decision by the Court.

17                                                Respectfully submitted,

18 Dated: May 3, 2022                             REESE LLP
19

20                                          By                     /s/Michael R. Reese
                                                                    Michael R. Reese
21                                                              Co-Counsel for Plaintiffs
                                                                 and the proposed class
22

23                                               BLAXTER | BLACKMAN LLP
24 Dated: May 3, 2022

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26                                          By                    /s/ Brian R. Blackman
                                                                BRIAN R. BLACKMAN
27                                                               Counsel for Defendant
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                                                                                    JOINT STATUS REPORT
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 1                                             ATTESTATION

 2          I, Michael R. Reese, am the ECF User whose identification and password are being used to

 3 file this Joint Status Report. I hereby attest that the concurrence in the filing of the document has been

 4 obtained from the other signatory.

 5                                                                 /s/ Michael R. Reese
 6                                                                 MICHAEL R. REESE

 7                                     CERTIFICATE OF SERVICE
 8          I hereby certify that on May 3, 2022, I electronically filed the above document with the Clerk
 9 of the Court using CM/ECF which will send electronic notification of such filing to all registered

10 counsel.

11                                                                 /s/ Michael R. Reese
12                                                                 MICHAEL R. REESE

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                                                                                    JOINT STATUS REPORT
